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                                        UNITED STATES BANKRUPTCY COURT
                                         SOUTHERN DISTRICT OF FLORIDA


RE: MILKO MASULLO                                                                            CASE NUMBER:22-13278-RAM


     TRUSTEE'S NOTICE OF DEFICIENCY FOR CONFIRMATION AND RECOMMENDATION
                (If this case is dismissed, this deficiency is an objection to reinstate)

The Trustee reviewed this case and found the following deficiencies remain unresolved from the Trustee’s letter
requesting documents and prior deficiencies and thus objects as follows. The debtor may be dismissed for
failure to fund the plan if they are delinquent in payments. The Court may dismiss this case if no one
appears at the confirmation hearing to represent the debtor. The Trustee reserves the right to raise
additional objections UNTIL all documents are timely provided to the Trustee and reviewed for issues raised
and additional documents needed.

Debtor’s attorney must provide all written responses or documents through BKDOCS.COM by 5pm at least 15
days prior to the confirmation hearing. Pro Se debtors may fax to 954-443-4452. Late documents may not be
reviewed or considered, and this case may be at risk of dismissal.

ATTORNEYS MUST SEEK A RESOLUTION PRIOR TO THE CONFIRMATION HEARING OF
ALL OUTSTANDING ISSUES. The Trustee’s Office has a “Precall” date. During this period, the Debtor’s
or Creditor’s attorney must call THE THURSDAY PRIOR TO THE HEARING and speak to the Trustee’s
staff attorney unless they agree to the Trustee’s recommendation. A final calendar will be published with any
changes of this recommendation the day before the hearing.

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Recommendation for July 12, 2022 hearing. All amendments and documents for the July 12, 2022
hearing were due as of June 21, 2022. (Call the Trustee's case administration department prior to "re-
sending" documents)


PLAN served on 5/1
If Counsel for the Debtor(s) appears at confirmation, confirms service, and agrees on the record:
Continue to 8/23:
Due on or before 5pm on 7/19: 1) WDO or motion to waive
(100% plan)
 If 100% language is removed, Debtor to provide documents/resolve issues on prior deficiencies
contemporaneously with filing of amended plan.




I hereby certify that a true and correct copy of the foregoing was served through ECF on the debtor’s attorney or by U.S. First Class
pre-paid Mail on the pro se debtor on the same day filed with the Court.

                                                                  Submitted by:
                                                                  NANCY K. NEIDICH, ESQ, STANDING CHAPTER 13 TRUSTEE
                                                                  P.O. BOX 279806, MIRAMAR, FL 33027, (954) 443-4402
